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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 AMERICAN CIVIL LIBERTIES     )
 UNION, et al.                )
                              )
        Plaintiffs,           )
                              )                Civil Action No. 16-1256 (EGS)
                v.            )
                              )
 CENTRAL INTELLIGENCE AGENCY, )
 et al.                       )
                              )
        Defendants.           )


                               [PROPOSED] ORDER

       In consideration of Defendants’ Consent Motion for Extension of Time, it is

HEREBY ORDERED that Defendants’ Motion is GRANTED.

       It is FURTHER ORDERED that the parties shall file a Joint Scheduling Order on

or before December 10, 2018.




Dated: ____________, 2018
                                           UNITED STATES DISTRICT JUDGE
